
PER CURIAM:
This claim was submitted for decision upon written stipulation based upon the following facts.
Claimant was the owner of an Ingersoll-Rand Model DA-50, self-propelled vibratory compactor, which was rented by respondent on or about April 2, 1984. Claimant delivered the compactor to respondent on May 11, 1984. Respondent agreed to pay a monthly rental fee of $3,200.00 per month. Respondent returned the equipment on July 3, 1984. Claimant pro-rated the second month’s rental, and respondent therefore owes claimant the amount of $2,453.34.
Based upon the foregoing, the Court makes an award in the amount of $2,453.34.
Award of $2,453.34.
